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                          THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

                Plaintiff,
                                                     CIVIL ACTION NO. 1:21-cv-00626-MN
        v.

 ANGELCAM, INC.,                                      JURY TRIAL DEMANDED

                Defendant.



              NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” and/or “RBDS”)

files this Notice of Voluntary Dismissal with Prejudice pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff

without order of court by filing a notice of dismissal at any time before service by the adverse

party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses this action against

Defendant Angelcam, Inc. with prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear

its own fees and costs.

Dated: October 14, 2021.                             Respectfully Submitted,

                                                     /s/David W. deBruin
                                                     David W. deBruin, Esq.
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                                                     ATTORNEYS FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE
        The undersigned hereby certifies that a true copy of the foregoing was filed electronically
and served by operation of the Court’s electronic filing system on October 14, 2021. Parties may
access the foregoing through the Court’s system.


                                                     /s/David W. deBruin
                                                     David W. deBruin, Esq.




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